*AFFIDAVIT
I, Raymond P. Martinez II, being duly sworn, declare and state as follows:

I. INTRODUCTION

1. Iam a Special Agent (“SA”) with the Federal Bureau of Investigation (“FBI’’) and
have been so employed since March 2009. I am currently assigned to the San Antonio Division
and assigned to a squad that is responsible for the investigation of, among other things, Weapons
of Mass Destruction. During my career as a SA, I have participated in numerous investigations
involving computer-related offenses and assisted in the execution of search warrants involving
computers, computer equipment, software, electronically stored information, and
instrumentalities of fraud. I have received training from the FBI, both formal and informal,
regarding Weapons of Mass Destruction. As a federal agent, I am authorized to investigate
violations of laws of the United States and am a law enforcement officer with authority to
execute federal search warrants.

2. I am familiar with the facts and circumstances described herein, and this affidavit
is based upon the personal knowledge I have derived from my participation in this investigation,
conclusions I have reached based upon my training and experience, my conversations with other
federal and state law enforcement investigators with whom I have discussed this case, and what I
believe to be reliable information obtained from the following sources: oral and written reports
about this investigation and other investigations which I have received from federal agents and
from state law enforcement agencies; law enforcement databases; public records; recorded
telephone calls; and physical surveillance conducted by federal agents or local law enforcement
agencies which has been reported to me either directly or indirectly.

3. Title 18, United States Code, 1038 makes it a crime for

Whoever engages in any conduct with intent to convey false or misleading information
under circumstances where such information may reasonably be believed and where such
information indicates that an activity has taken, is taking, or will take place that would
constitute a violation of chapter ... 10,... shall be fined under this title or imprisoned not
more than 5 years, or both

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4. Title 18, United States Code, Section 175, contained in Chapter 10 of Title 18,
makes it a crime for

Whoever knowingly ... transfers... any biological agent... for use as a weapon ... or
attempts, threatens, or conspires to do the same, shall be fined under this title or
imprisoned for life or any term of years, or both.

Il. PURPOSE OF AFFIDAVIT

5. This affidavit is made in support of:

a. an application for a warrant to search the residence located in San
Antonio, TX, 78219 (the “SUBJECT PREMISE”);

b. a criminal complaint against and arrest warrant for Christopher Charles
Perez (“PEREZ”) for a violation of 18 U.S.C. § 1038 (WMD False Information and Hoaxes);
and

c. an application for a warrant to search digital devices in the physical
possession of PEREZ or in areas within his immediate control at the time of his arrest (the
“SUBJECT DEVICES”).

6. The facts set forth in this affidavit are based upon my personal observations, my
training and experience, and information obtained from various law enforcement personnel and
witnesses. This affidavit is intended to show merely that there is sufficient probable cause for
the requested complaint and warrants and does not purport to set forth all of my knowledge of or
investigation into this matter. Unless specifically indicated otherwise, all conversations and.
statements described in this affidavit are related in substance and in part only.

I. SUBJECT PREMISE
7. The premises to be searched is located in San Antonio, Texas.
IV. SUBJECT DEVICES

8. The SUBJECT DEVICES to be searched are digital devices in the physical

possession of PEREZ or in areas within his immediate control at the time of the execution of the

arrest warrant.

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V. SUMMARY OF PROBABLE CAUSE

9. The FBI is investigating PEREZ for his threat made online in which he claimed
he paid someone to spread COVID-19 at a Grocery Stores in the San Antonio area. The
investigation into PEREZ arose from an anonymous individual who viewed PEREZ’s online post
and reported it. PEREZ was located and confessed to creating the post in order to scare people.

VL STATEMENT OF PROBABLE CAUSE

A. Online Post and Identification of SUBJCECT

10. On April 5, 2020 at approximately 00:21 CDT, an online tip was filed with the
website www.tip411.com regarding a threat to contaminate and spread COVID-19. A screenshot
of the post made by the Facebook moniker “Christopher Robbins” (PEREZ). The post stated
“PSA!! Yo rt GROCERY STOREMERCADO!! My homeboys cousin has covid19 and has
licked every thing for past 2 days cause we paid him too [4 EMOTICONS]...big difference is we
told him not to be these fucking idiots who record and post online... YOU’ VE BEEN
WARNED!!! GROCERY STORE on nogalitos next ;)”

11. San Antonio Fusion Center Officer #0094 located the Facebook page for PEREZ.
The original post had been removed at the time Officer #0094 viewed the page, however, a
second post was made linking a news article to www.news4sanantonio.com referencing an
article in which a store released a statement that an employee tested positive for COVID-19. The
post contained a comment stating the following: “Lol..I did try to warn y’all but my homegirl
changed my mind...mercado already is, nogalitos location next....”

12. Through intelligence gathered on SUBJECTS Facebook page and database
checks, SUBJECT was identified as:

NAME: CHRISTOPHER CHARLES PEREZ

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13. This information was then passed then passed to the FBI San Antonio Division
for investigative actions.

B. Interview of the SUBJECT

14. PEREZ was located at the SUBJECT PREMISE and interviewed. PEREZ
confirmed ownership of the Facebook account under the name “Christopher Robbins.” PEREZ
admitted to making a post on his Facebook page about someone intentionally spreading
coronavirus, a.k.a. COVID-19, inside a Grocery store in San Antonio. PEREZ claimed it was
“shit talking” and he was not aware of anyone actually spreading the virus in a Grocery Store.
PEREZ stated he was not sick, none of his family were sick with coronavirus, and he did not
know anyone with coronavirus. PEREZ said he "thought it was stupid for people to be out
shopping and he was trying scare people from the stores in order to stop them from spreading the
virus to keep people safe.” PEREZ said too many people were still out shopping in the stores and
he wanted them to take things more seriously and reduce the number of people in the stores.
PEREZ intended “in a way” to stop people from going to GROCERY STORE so he could keep
people from getting sick. PEREZ did not intend to cause a mass panic, but prevent the spread of
coronavirus by keeping people at home because he believes people are out there intentionally
spreading the virus. When asked if he was happy a GROCERY STOREclosed as a result of his
threat, PEREZ stated he was “50/50.”

15. | PEREZ stated he only made one post and this post was on his page for a minute.
He claimed he took down this post after another individual commented and told him to take it
down because he could get into trouble. This statement was not true in that based on the
information on the post, it was up for at least 16 minutes. PEREZ never mentioned his second
post in the interview that threatened "mercado already is, nogalitos location next." Based on the
information on contained the second post, this post was up for at least 23 hours.

16. PEREZ stated he lost his job as a result of the shelter in place orders.

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Cc. Victim’s Response

17. Linterviewed VICTIM’s Vice President of Loss Prevention, Darrell Taylor
(“TAYLOR”). TAYLOR stated after he was made aware of the threat, he notified VICTIM’s
Vice President of Risk Management Abel Martinez. The grocery store took these threats
seriously, however, they were awaiting confirmation on the validity of the threat as well as what
stores may have been affected to initiate their planned response. Taylor stated no stores were
closed as they were unaware of what store or stores would have been affected by the threat. Also,
they did not know the date and time the possible contamination would have occurred. Taylor
stated if the grocery stores would have started to close for these threats, it could have caused a
panic response by the public in the current state due to the COVID-19 pandemic.

18. Based on PEREZ's two posted threats, I believe there is probable cause to believe
he engaged conduct with intent to convey false or misleading information under circumstances
where such information may reasonably be believed and where such information indicates that
an activity has taken, is taking, or will take place that would constitute a violation of 18 U.S.C.
175, that is conspiring to weapondize a biological agent, that is coronavirus a.k.a. COVID-19.

VII. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

19. | From my experience, I know processing data in digital form, including central
processing units; desktop, laptop, notebook, and tablet computers; personal digital assistants;
wireless communication devices, such as telephone paging devices, beepers, mobile telephones,
and smart phones; digital cameras; gaming consoles (including Sony PlayStations and Microsoft
Xboxes); peripheral input/output devices, such as keyboards, printers, scanners, plotters,
monitors, and drives intended for removable media; related communications devices, such as
modems, routers, cables, and connections; storage media, such as hard disk drives, floppy disks,
memory cards, optical disks, and magnetic tapes used to store digital data (excluding analog
tapes such as VHS); and security devices. Based on my knowledge, training, and experience, as
well as information related to me by agents and others involved in the forensic examination of

digital devices, I know that data in digital form can be stored on a variety of digital devices and

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that during the search of a premises it is not always possible to search digital devices for digital
data for a number of reasons. Thus, the warrant applied for would authorize the seizure of
electronic storage media or, potentially, the copying of electronically stored information, all
under Rule 41(e)(2)(B).

20. Probable cause. I submit that if a computer or storage medium is found on the
PREMISES, there is probable cause to believe those records will be stored on that computer or
storage medium, for at least the following reasons:

a. Based on my knowledge, training, and experience, I know that computer files or
remnants of such files can be recovered months or even years after they have been downloaded
onto a storage medium, deleted, or viewed via the Internet. Electronic files downloaded to a
storage medium can be stored for years at little or no cost. Even when files have been deleted,
they can be recovered months or years later using forensic tools. This is so because when a
person “deletes” a file on a computer, the data contained in the file does not actually disappear;

rather, that data remains on the storage medium until it is overwritten by new data.

b. Therefore, deleted files, or remnants of deleted files, may reside in free space or
slack space—that is, in space on the storage medium that is not currently being used by an active
file—for long periods of time before they are overwritten. In addition, a computer’s operating

system may also keep a record of deleted data in a “swap” or “recovery” file.

c. Wholly apart from user-generated files, computer storage media—in particular,
computers’ internal hard drives—contain electronic evidence of how a computer has been used,
what it has been used for, and who has used it. To give a few examples, this forensic evidence
can take the form of operating system configurations, artifacts from operating system or

application operation, file system data structures, and virtual memory “swap” or paging files.

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Computer users typically do not erase or delete this evidence, because special software is

typically required for that task. However, it is technically possible to delete this information.

d. Similarly, files that have been viewed via the Internet are sometimes automatically

downloaded into a temporary Internet directory or “cache.”

22. Forensic evidence. This application seeks permission to locate not only computer
files that might serve as direct evidence of the crimes described on the warrant, but also
for forensic electronic evidence that establishes how computers were used, the purpose of
their use, who used them, and when. There is probable cause to believe that this forensic

electronic evidence will be on any storage medium in the PREMISES because:

a. Data on the storage medium can provide evidence of a file that was once on the
storage medium but has since been deleted or edited, or of a deleted portion of a file
(such as a paragraph that has been deleted from a word processing file). Virtual memory
paging systems can leave traces of information on the storage medium that show what
tasks and processes were recently active. Web browsers, e-mail programs, and chat
programs store configuration information on the storage medium that can reveal
information such as online nicknames and passwords. Operating systems can record
additional information, such as the attachment of peripherals, the attachment of USB
flash storage devices or other external storage media, and the times the computer was in
use. Computer file systems can record information about the dates files were created and

the sequence in which they were created, although this information can later be falsified.

b. As explained herein, information stored within a computer and other

electronic storage media may provide crucial evidence of the “who, what, why, when,

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where, and how” of the criminal conduct under investigation, thus enabling the United
States to establish and prove each element or alternatively, to exclude the innocent from
farther suspicion. In my training and experience, information stored within a computer
or storage media (e.g., registry information, communications, images and movies,
transactional information, records of session times and durations, internet history, and
anti-virus, spyware, and malware detection programs) can indicate who has used or
controlled the computer or storage media. This “user attribution” evidence is analogous
to the search for “indicia of occupancy” while executing a search warrant at a residence.
The existence or absence of anti-virus, spyware, and malware detection programs may
indicate whether the computer was remotely accessed, thus inculpating or exculpating the
computer owner. Further, computer and storage media activity can indicate how and
when the computer or storage media was accessed or used. For example, as described
herein, computers typically contain information that log: computer user account session
times and durations, computer activity associated with user accounts, electronic storage
media that connected with the computer, and the IP addresses through which the
computer accessed networks and the internet. Such information allows investigators to
understand the chronological context of computer or electronic storage media access, use,
and events relating to the crime under investigation. Additionally, some information
stored within a computer or electronic storage media may provide crucial evidence
relating to the physical location of other evidence and the suspect. For example, images
stored on a computer may both show a particular location and have geolocation
information incorporated into its file data. Such file data typically also contains

information indicating when the file or image was created. The existence of such image

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files, along with external device connection logs, may also indicate the presence of
additional electronic storage media (e.g., a digital camera or cellular phone with an
incorporated camera). The geographic and timeline information described herein may
either inculpate or exculpate the computer user. Last, information stored within a
computer may provide relevant insight into the computer user’s state of mind as it relates
to the offense under investigation. For example, information within the computer may
indicate the owner’s motive and intent to commit a crime (e.g., internet searches
indicating criminal planning), or consciousness of guilt (e.g., running a “wiping” program
to destroy evidence on the computer or password protecting/encrypting such evidence in
an effort to conceal it from law enforcement).

c. A person with appropriate familiarity with how a computer works can, after
examining this forensic evidence in its proper context, draw conclusions about how

computers were used, the purpose of their use, who used them, and when.

d. The process of identifying the exact files, blocks, registry entries, logs, or
other forms of forensic evidence on a storage medium that are necessary to draw an
accurate conclusion is a dynamic process. While it is possible to specify in advance the
records to be sought, computer evidence is not always data that can be merely reviewed
by a review team and passed along to investigators. Whether data stored on a computer
is evidence may depend on other information stored on the computer and the application
of knowledge about how a computer behaves. Therefore, contextual information

necessary to understand other evidence also falls within the scope of the warrant.

e. Further, in finding evidence of how a computer was used, the purpose of its

use, who used it, and when, sometimes it is necessary to establish that a particular thing is

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not present on a storage medium. For example, the presence or absence of counter-
forensic programs or anti-virus programs (and associated data) may be relevant to

establishing the user’s intent.

23. Searching digital devices can be a highly technical process that requires specific
expertise and specialized equipment. There are so many types of digital devices and
software programs in use today that it is impossible to bring to the search site all of the
necessary technical manuals and specialized equipment necessary to conduct a thorough
search. In addition, it may be necessary to consult with specially trained personnel who
have specific expertise in the types of digital devices, operating systems, or software

applications that are being searched.

a. Digital data is particularly vulnerable to inadvertent or intentional
modification or destruction. Searching digital devices can require the use of precise, scientific
procedures that are designed to maintain the integrity of digital data and to recover “hidden,”
erased, compressed, encrypted, or password-protected data. As a result, a controlled
environment, such as a law enforcement laboratory or similar facility, is essential to conducting a
complete and accurate analysis of data stored on digital devices.

b. Although some of the records called for by this warrant might be found in
the form of user-generated documents (such as word processing, picture, and movie files), digital
devices can contain other forms of electronic evidence as well. In particular, records of how a
digital device has been used, what it has been used for, who has used it, and who has been
responsible for creating or maintaining records, documents, programs, applications and materials
contained on the digital devices are, as described further in the attachments, called for by this
warrant. Those records will not always be found in digital data that is neatly segregable from the
hard drive image as a whole. Digital data on the hard drive not currently associated with any file

can provide evidence of a file that was once on the hard drive but has since been deleted or

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edited, or of a deleted portion of a file (such as a paragraph that has been deleted from a word
processing file), Virtual memory paging systems can leave digital data on the hard drive that
show what tasks and processes on the computer were recently used. Web browsers, e-mail
programs, and chat programs often store configuration data on the hard drive that can reveal
information such as online nicknames and passwords. Operating systems can record additional
data, such as the attachment of peripherals, the attachment of USB flash storage devices, and the
times the computer was in use. Computer file systems can record data about the dates files were
created and the sequence in which they were created. This data can be evidence of a crime,
indicate the identity of the user of the digital device, or point toward the existence of evidence in
other locations. Recovery of this data requires specialized tools and a controlled laboratory
environment, and also can require substantial time.

c. Further, evidence of how a digital device has been used, what it has been
used for, and who has used it, may be the absence of particular data on a digital device. For
example, to rebut a claim that the owner of a digital device was not responsible for a particular
use because the device was being controlled remotely by malicious software, it may be necessary
to show that malicious software that allows someone else to control the digital device remotely is
not present on the digital device. Evidence of the absence of particular data on a digital device is
not segregable from the digital device. Analysis of the digital device as a whole to demonstrate
the absence of particular data requires specialized tools and a controlled laboratory environment,
and can require substantial time.

d. Digital device users can attempt to conceal data within digital devices through a
number of methods, including the use of innocuous or misleading filenames and extensions. For
example, files with the extension “jpg” often are image files; however, a user can easily change
the extension to “.txt” to conceal the image and make it appear that the file contains text. Digital
device users can also attempt to conceal data by using encryption, which means that a password.
or device, such as a “dongle” or “keycard,” is necessary to decrypt the data into readable form.

In addition, digital device users can conceal data within another seemingly unrelated and

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innocuous file in a process called “steganography.” For example, by using steganography a
digital device user can conceal text in an image file that cannot be viewed when the image file is
opened. Digital devices may also contain “booby traps” that destroy or alter data if certain
procedures are not scrupulously followed. A substantial amount of time is necessary to extract
and sort through data that is concealed, encrypted, or subject to booby traps, to determine
whether it is evidence, contraband or instrumentalities of a crime.

24. As discussed herein, based on my training and experience | believe that
digital devices will be found during the search. I know from my training and experience and my
review of publicly available materials that Apple Inc., Motorola, HTC, and Samsung, among
other companies, produce devices that can be unlocked by the user with a numerical or an alpha-
numerical password, or, for some newer versions of the devices, with a fingerprint placed on a
fingerprint sensor or, facial recognition. Each company has a different name for its fingerprint
sensor feature; for example, Apple’s is called “Touch ID.” Once a user has set up the fingerprint
sensor feature in the security settings of the device, the user can unlock the device by placing a
finger or thumb on the device’s fingerprint sensor. If that sensor recognizes the fingerprint or
thumbprint, the device unlocks. Most devices can be set up to reco gnize multiple prints, so that
different prints, not necessarily from the same person, will unlock the device. In my training and
experience, users of devices with a fingerprint sensor feature often enable that feature, because it
unlocks the phone more quickly than the entry of a passcode or password but still offers a layer of
security. Likewise, some devices can be unlocked through the use of facial recognition software.
If the device recognizes the preprogrammed face, the device will unlock. In my training and
experience, users of devices with facial recognition software features often enable that feature,
because it unlocks the phone more quickly than the entry of a passcode or password but still
offers a layer of security.

25. Insome circumstances, fingerprint sensors will not work, and a passcode must be
entered to unlock the device. For example, with Apple’s Touch ID feature, these circumstances

include: (1) when more than 48 hours has passed since the last time the device was unlocked;

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and (2) when the device has not been unlocked via Touch ID in 8 hours and the passcode or
password has not been entered in the last 6 days. Thus, in the event law enforcement encounters
a locked Apple device, the opportunity to unlock the device via Touch ID exists only for a short
time. Touch ID also will not work to unlock the device if (1) the device has been turned off or
restarted; (2) the device has received a remote lock command; and (3) five unsuccessful attempts
to unlock the device via Touch ID are made. Other brands have similar restrictions. I do not
know the passcodes of the devices likely to be found at the SUBJECT PREMISE or the
SUBJECT DEVICES. Likewise, Apple and other manufacturers who also use facial recognition
software set similar limits to unlock a device.

26. For these reasons, while executing the warrant, agents will likely need to use the
fingerprints or thumbprints of any user(s) of any fingerprint sensor-enabled device(s) to attempt
to gain access to that device while executing the search warrant. Additionally, if the device is
enabled to unlock the device, agents will need to hold the device in front of any and all user's
faces. The warrant seeks the authority to compel the use of the fingerprint and/or thumbprint
and/or face of: (a) every person who is located at the SUBJECT PREMISE during the execution
of the search and who is reasonably believed by law enforcement to be a user of a fingerprint
and/or facial recognition sensor-enabled device that is located at the SUBJECT PREMISE and
falls within the scope of the warrant; and (b) PEREZ with respect to the SUBJECT DEVICES.
The government may not be able to obtain the contents of the devices if those fingerprints are not
used to access the devices by depressing them against the fingerprint sensor at the time of the
search. Although I do not know which of the fingers are authorized to access on any given
device, I know based on my training and experience that it is common for people to use one of
their thumbs or index fingers for fingerprint sensors, and in any event all that would result from
successive failed attempts is the requirement to use the authorized passcode or password, for

which passcode or password the government does not seek to compel.

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Vill. ITEMS TO BE SEIZED

27. Based on the foregoing, I respectfully submit that there is probable cause to
believe that the items which constitute evidence of violations of the Subject Offenses, will be
found at the SUBJECT PREMISE, and that the items which constitute evidence of violations of
the Subject Offenses, will be found in the SUBJECT DEVICES.

IX. CONCLUSION

28. For all the reasons described above, there is probable cause to believe that:
(a) evidence of violations of the Subject Offenses, this affidavit, will be found in a search of the
SUBJECT PREMISE and the SUBJECT DEVICES, respectively, (b) PEREZ has committed a

violation of 18 U.S.C. § 1038 (Hoaxes Involving Biological Agents).

REQUEST FOR SEALING
29. I further request that the Court order that all papers in support of this application,

including the affidavit and search warrant, be sealed until further order of the Court.

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These documents discuss an ongoing criminal investigation that is neither public nor
known to all of the targets of the investigation. Accordingly, there is good causc to seal these

documents because their premature disclosure may seriously jeopardize that investigation,

Respectfully submitted,

hie ~ JE —e

Raymond P.(Mattinez III, Special gent

Federal Bureau of Investigation

Subscribed and swom telephonically and signed electronically on the _7t} _ day of April, 2020

LBL

HONORABLE RICHARD B. FARRER
UNITED STATES MAGISTRATE JUDGE

 

 

 

 

 

 
